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UNITED sTATEs DISTRICT CoURT S°““"a"“ Y?§§lf‘? d BX‘“S
soUTHERN DISTRICT oF TEXAS JUN. 1 6 2015
McALLEN l)lesIoN
UNITED sTATEs oF AMERICA mle $- B‘“@d‘@ll= U@l“f
v. Criminai NO. M-16-0876- (2), (4), (6), (7),
(12), (13), (16)
ISMAEL LECHUGA

also known as “Taco”

also known as “Yeyo”`

also known as “Junior 100”

PABLO ROLANDO GARClA-SILVA
also known as “Taco”

also known as “Yeyo”

ELISEO RICO-RODRIGUEZ
l\/IARCO BENAVIDES-IRLEAGA
also known as “AleXander Bennette”
also known as “Ricardo Vara”
DANIEL RlVERA-PEREZ

also known as “Tocayo”

also known as “Ricardo Vara”

LUIS BARRERA-GARZA

also known as “Hoy Nomas”
ERICA PATRICIA OCHOA

CO>W)CUJCD)CO!@W>CMC@BCO?CGJC@OCOJCO!CO)W$CMW?CODW>CM

MOTION TO UNSEAL INDICTMENT AGAINST DEFENDANTS
ISMAEL LECHUGAialso known as “Taco”, also known as “Yevo”, also known as “Jnnior
100” PABLO ROLANI)O GARCIA-SILVA, also known as “Taco”, also known as “Yevo”1
ELISEO RICG-RODRIGUEZ, MARCO BENAVIDES-IRLEAGA, also known as
“Alexander Bennette”, also known as “chardo Vara”, DANIEL RIVERA-PEREL also “
known as “Tocavg, also known as “Ricardo Vara’;LUIS BARRERA-GARZA, also known
as “HoV Nomas”, AND ERICA PATRICIA OCHOA

TO THE HONORABLE JUDGE OF SAID COURT:

C()l\/[ES NCW the United States of America, hereinafter referred to as "the Government,"
by and through its Attorney and Assistant United States Attorney assigned to this matter and
would respectfully show the Court the following:

I.

The Governrnent moves that the Sealed lndictment against ISMAEL LECHUGA, also known as

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“Taco”, also known as “Yeyo”, also known as “Junior l()()” PABLO ROLANDO
GARClA-SILVA, also known as “Taco”, also known as “Yeyo”, ELISEO RICO-RODRIGUEZ,
l\/IARCO BENAVIDES-IRLEAGA, also known as “Alexander Bennette”, also known as
“Ricardo Vara”, DANIEL RIVERA-PEREZ, also known as “Tocayo, also known as “Ricardo
Vara”, LUIS BARRERA-GARZA, also known as “Hoy Nornas”, AND ERICA PATRICIA

OCHOA, be Unsealed as they are in custody.

Respectfully submitted,

KENNETH MAGIDSON
UNITED STATES ATTORNEY

/s/ Patrz`cia Cook Profit
PA TRICIA COOK PROFIT
Assistant United States Attorney

